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THE ATKIN FIRM, LLC
Formed in the State of New Jersey
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Attorneys for Plaintiff Strike 3 Holdings, LLC

                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


 STRIKE 3 HOLDINGS, LLC,
                                              Case No. 2:24-cv-10759-EP-JRA
                    Plaintiff,
                                                    NOTICE OF MOTION
       v.                                         FOR EXTENSION OF TIME
                                                    WITHIN WHICH TO
 JOHN DOE subscriber assigned IP                   EFFECTUATE SERVICE
 address 74.102.72.115,

                    Defendant.


TO: ALL COUNSEL OF RECORD IN THE ABOVE CAPTIONED
    MATTER

      PLEASE TAKE NOTICE that on April 7, 2025, at 9:30 a.m., or as soon

thereafter as counsel may be heard, the undersigned attorneys for Plaintiff Strike 3

Holdings, LLC (“Plaintiff”) will move before the Honorable Jose R. Almonte,

U.S.M.J., of the United States District Court for the District of New Jersey, at the

Martin Luther King Building & U.S. Courthouse, 50 Walnut Street, Newark, NJ
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07102, for an Order granting an extension of time within which to effectuate service

of process in this matter, pursuant to Federal Rule of Civil Procedure 4(m).

      PLEASE TAKE FURTHER NOTICE that pursuant to Local Civil Rule

7.1(d)(4), Plaintiff states that no brief is necessary because Plaintiff will rely upon

the Certification of John C. Atkin, Esq., to explain the lack of service to date and

show good cause for the requested extension, submitted herewith; any reply papers

in support of this Motion; and oral argument, if any.

      PLEASE TAKE FURTHER NOTICE that pursuant to Local Civil Rule

7.1(e), a proposed form of order is also submitted herewith for the Court’s

consideration.

DATED: February 24, 2025                Respectfully submitted,

                                        THE ATKIN FIRM, LLC
                                        Attorneys for Plaintiff,
                                        Strike 3 Holdings, LLC

                                 By:    /s/ John C. Atkin, Esq.
                                        JOHN C. ATKIN




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